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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
MWG                                                 271 Cadman Plaza East
F. #2022R00544                                      Brooklyn, New York 11201



                                                    March 3, 2023

By ECF

The Honorable Hector Gonzalez
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Christopher Gunn
                       Criminal Docket No. 22-314 (HG)

Dear Judge Gonzalez:

                Pursuant to the Court’s Order dated March 2, 2023, the government respectfully
submits this letter to address whether the Court should revoke the modification to the defendant’s
bond that permits the defendant to leave his residence for childcare-related services approved by
Pretrial Services (the “Modification”).

                The government agrees with Pretrial Services that the Modification should be
revoked. Since the Modification went into effect just several weeks ago on February 9, 2023, the
defendant has deviated from approved activities and thereby violated the trust of Pretrial
Services on multiple occasions. Even more troubling is the defendant’s reportedly defiant and
disrespectful attitude toward his supervising officer and the terms of his supervision, generally.
When confronted with his violations, the defendant told his supervising officer that he did not
“give a f*** anymore” and refused to answer questions. The defendant’s behavior toward his
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supervising officer demonstrates that he cannot be trusted to continue abiding by the terms of his
bond as modified, and that the Modification should be revoked.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:     /s/ Michael W. Gibaldi
                                                     Michael W. Gibaldi
                                                     Assistant U.S. Attorney
                                                     (718) 254-6067

cc:    Clerk of the Court (HG) (by ECF)
       Counsel of Record (by ECF)
       U.S. Pretrial Services Officer Bianca Carter (by E-mail)




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